 Case 1:15-bk-10336-MB        Doc 26 Filed 08/07/15 Entered 08/07/15 14:12:22         Desc
                               Main Document     Page 1 of 3



1    Alan Steven Wolf – Bar No. 94665
     Caren Jacobs Castle – Bar No. 93888
2    Daniel K. Fujimoto – Bar No. 158575
     Mark T. Domeyer – Bar No. 135008
3    THE WOLF FIRM, A Law Corporation
     2955 Main Street, Second Floor
4    Irvine, CA 92614
     Telephone: (949) 720-9200
5    Fax: (949) 608-0128

6    Attorneys for Movant, Quicken Loans Inc.

7
                             UNITED STATES BANKRUPTCY COURT
8
                               CENTRAL DISTRICT OF CALIFORNIA
9
                                SAN FERNANDO VALLEY DIVISION
10

11   In re:                                         CASE NO: 15-10336

12   Alicia Quezada-Escobar aka Alicia              CHAPTER: 13
     Quezada
13                                                  REPLY TO OPPOSTION TO MOTION FOR
                                 Debtor.            RELIEF FROM STAY
14
                                                    Date:      August 18, 2015
15                                                  Time:      9:30 a.m.
                                                    Courtroom:
16
                                                    U.S. Bankruptcy Court
17                                                  21041 Burbank Boulevard
                                                    Woodland Hills, CA 91367-6603
18
19            Quicken Loans, Inc. (“Movant”) respectfully files its reply to the Response to
20   Motion Regarding the Automatic Stay and Declarations in Support filed by the Debtor on
21   July 31, 2015 at docket entry no. 25 (the “Opposition”) and for its reply Movant shows
22   the court as follows:
23            1. The Declaration of Donald Iwuchuku filed in response to the motion alleges
24               that the Movant had acted in bad faith by failing to advise the court that the
25               Property had been foreclosed upon by virtue of a sale conducted on May 11,
26               2015.
27
                                                 -1-
28                       5TREPLY TO OPPOSTION TO MOTION FOR RELIEF FROM STAY

     8192-2413
 Case 1:15-bk-10336-MB         Doc 26 Filed 08/07/15 Entered 08/07/15 14:12:22         Desc
                                Main Document     Page 2 of 3



1           2. After learning of the alleged wrongful foreclosure; counsel for the Movant

2                confirmed that a sale had taken place post petition and recognizing that a

3                sale held in violation of the stay was void counsel for the Movant rescinded

4                the sale and no trustee’s deed upon sale was ever issued.

5           3. The Declaration in support of the motion indicated no sale was held in ¶ (9)

6                but this was in error. The sale was held on May 11, 2015 and was rescinded

7                on June 17, 2015.

8           4. The Opposition states that more payments were made than alleged in the
9                motion and supporting declaration as set forth in the supporting declaration of
10               the Debtor but the supporting declaration does not in fact document additional
11               payments. Instead the Debtor’s declaration alleges that the default was
12               intentional in an attempt to secure a voluntary loan modification with the
13               additional allegations that the debtor was advised that the loan needed to be
14               in default for a voluntary loan modification to receive consideration. The
15               Debtor’s declaration in support of the opposition does not in fact document
16               additional payments as alleged in the Opposition and instead repeats
17               allegations that Movant had conducted a sale post-petition.
18          5. Movant acknowledges that a sale did take place but Movant acted to rescind
19               the sale and no Trustee’s deed upon sale was issued and Movant seeks relief
20               from stay to continue with its foreclosure process.
21   Date: August 6, 2015                       Respectfully submitted,

22                                              THE WOLF FIRM,
                                                A Professional Law Corporation
23

24
                                                By: /s/ Mark T. Domeyer
25                                                  Mark T. Domeyer
                                                    Attorneys for Creditor
26                                                  Quicken Loans Inc.
27
                                                  -2-
28
     8192-2413
         Case 1:15-bk-10336-MB              Doc 26 Filed 08/07/15 Entered 08/07/15 14:12:22                   Desc
                                             Main Document     Page 3 of 3


In re:                                                                            CHAPTER 13
Alicia Quezada-Escobar aka Alicia Quezada
                                                                                  CASE NUMBER 15-10336
                                                                     Debtor(s).

                                   PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                             nd
                        2955 Main Street, 2 Floor, Irvine, CA 92614

A true and correct copy of the foregoing document described as
 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner indicated below:

I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to controlling
General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the court via NEF
and hyperlink to the document. On 8/7/2015, I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following person(s) are on the Electronic Mail Notice List to receive NEF
transmission at the email address(es) indicated below:


                                                                            Service information continued on attached
page

II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL(indicate method for each person or entity served):
On August 7, 2015, I served the following person(s) and/or entity(ies) at the last known address(es) in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States Mail, first class, postage prepaid, and/or with an overnight mail service addressed as follows. Listing the
judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.
Debtor's Counsel: Donald E. Iwuchuku, Law Offices of Donald Iwuchuku, 21550 Oxnard Street 3rd Floor, Woodland
Hills, CA 91367 (U.S. Mail)
Debtor: Alicia Quezada-Escobar, 11926 Blythe Street, North Hollywood, CA 91605 (U.S. Mail)
U.S. Trustee: Office of the U.S. Trustee - Los Angeles, 725 South Figueroa Street, 26th Floor, Los Angeles, CA
90017 (U.S. Mail)
Chapter 13 Trustee: Elizabeth F. Rojas, Noble Professional Center, 15060 Ventura Blvd., Suite 240, Sherman Oaks,
CA 91403 (U.S. Mail)
Judge: Honorable Judge Martin R. Barash, 21041 Burbank Boulevard, Suite 342, Woodland Hills, CA 91367-6603
(U.S. Mail)
                                                                           Service information continued on attached
page

III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on I served the following person(s) and/or
entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile
transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on the
judge will be completed no later than 24 hours after the document is filed.

                                                                            Service information continued on attached
page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

 August 6, 2015 Mark T. Domeyer                                               /s/Mark T. Domeyer
 Date                       Type Name                                         Signature

8192-2413 MTD
